          Case 2:22-cv-01635-TL         Document 48-1        Filed 04/10/23       Page 1 of 5




 1                                                                       HONORABLE TANA LIN

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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9

10   BARONIUS PRESS, LTD., an Isle of Man
     limited company,
11                                                   NO. 2:22-cv-01635-TL
                                  Plaintiff,
12                                                   PLAINTIFF BARONIUS PRESS, LTD.’S
           v.                                        EXHIBIT APPENDIX TO PLAINTIFF’S
13                                                   SECOND AMENDED VERIFIED
     FAITHLIFE CORPORATION, a                        COMPLAINT FOR DAMAGES
14   Washington corporation,
15                                Defendants.
16

17
                                   EXHIBIT APPENDIX TO
18                 PLAINTIFF’S SECOND AMENDED VERIFIED COMPLAINT

19

20
       Exhibit
21
       No.           Description of Exhibit
22
       Exhibit 1      Mr. Craig St. Clair’s LinkedIn personal profile
23

24

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26
     EXHIBIT APPENDIX,                                                  GORDON REES SCULLY
     CASE NO. 2:22-CV-01635-TL - 1                                      MANSUKHANI, LLP
                                                                        701 5th Avenue, Suite 2100
                                                                        Seattle, WA 98104
                                                                        Telephone: (206) 695-5100
                                                                        Facsimile: (206) 689-2822
          Case 2:22-cv-01635-TL       Document 48-1       Filed 04/10/23     Page 2 of 5




 1
       Exhibit
 2     No.          Description of Exhibit
 3
                     Documents showing the history of the copyright timeline of Grundriss
 4                      Contract: Ludwig Ott – Herder & co (1951)
 5                      Regina Ott – Certificate of Inheritance (1985)
                        Assignment of Rights: Regina Ott – Seminary of Eichstätt (1985)
 6
                        Verlag Herder returns the rights to Diocese of Eichstätt (2004)
 7                      Diocese of Eichstätt grants Nova et Vetera the rights for English
 8                        edition (2008)
                        Agreement: Baronius Press – nova et vetera (2009) [payment
 9
                          terms redacted, and an unredacted version of this agreement
10     Exhibit 2          will be produced under the parties’ executed protective order]
11                      Agreement: Baronius Press – nova et vetera (2012) [payment
                          terms redacted, and an unredacted version of this agreement
12
                          will be produced under the parties’ executed protective order]
13                      Addendum to Agreement: Baronius Press – nova et vetera (2015)
14                      Grundriss - Form GATT registration (2014)
                        U.S. Copyright Office Certificate of Registration – Grundriss der
15
                          katholischen Dogmatik (2014)
16                      Copyright.gov record view - Grundriss
17

18                   Documents showing the history of the copyright timeline of Fundamentals
                       Contract: Mercier Press – Verlag Herder (1953)
19
                       Mercier Press – Authors/Translators Ledger - Dr. Patrick Lynch
20                      Mercier Press - Assignment of rights to Baronius Press (2010)
21                        [payment terms redacted, and an unredacted version of this
       Exhibit 3          assignment will be produced under the parties’ executed
22
                          protective order]
23                     Fundamentals - Form GATT registration (2014)
24                     U.S. Copyright Office Certificate of Registration – Fundamentals
                          of Catholic Dogma (2014)
25
                       Copyright.gov record view - Fundamentals
26
     EXHIBIT APPENDIX,                                             GORDON REES SCULLY
     CASE NO. 2:22-CV-01635-TL - 2                                 MANSUKHANI, LLP
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                                                                   Facsimile: (206) 689-2822
          Case 2:22-cv-01635-TL        Document 48-1        Filed 04/10/23      Page 3 of 5




 1
       Exhibit
 2     No.          Description of Exhibit
 3
                    Printout of Defendant’s Forums: “Ludwig Ott's Fundamentals of Catholic
 4     Exhibit 4
                    Dogma is Back!” at https://community.logos.com/forums/t/180933.aspx
 5
                    A sample of Plaintiff’s press release and coverage regarding an out of court
 6     Exhibit 5
                    settlement on Fundamentals with St. Benedict Press.
 7
       Exhibit 6    Correspondence with Faithlife – Craig St Clair and Bethany Olsen
 8
       Exhibit 7    Correspondence Faithlife – Bob Pritchett, President/CEO
 9

10                  Copyright Management Information (CMI) in Defendant’s copies of public
       Exhibit 8
                    domain titles.
11

12     Exhibit 9    A side-by-side comparison of Plaintiff’s CMI and Defendant’s CMI

13                  Printout of Defendant’s Forums: “Knox Bible                   please!”    at
       Exhibit 10
14                  https://community.logos.com/forums/t/97884.aspx

15                  Printout of Defendant’s Forums: “Book Suggestion: Knox Bible” at
       Exhibit 11
16                  https://community.logos.com/forums/t/181544.aspx

17     Exhibit 12   Printout of Defendant’s Forums: “The Knox Bible – Book Suggestions for
18                  Logos” at https://suggestbooks.uservoice.com/forums/308269-book-
                    suggestions/suggestions/10852821-the-knox-bible
19

20                  Printout of Defendant’s Forums: “Suggestion: Catholic Bibles” at
       Exhibit 13
                    https://community.logos.com/forums/p/185648/1071879.aspx
21

22                  Printout of Defendant’s Forums: “Divine Intimacy – Book Suggestions for
       Exhibit 14   Logos” at https://suggestbooks.uservoice.com/forums/308269-book-
23
                    suggestions/suggestions/11225271-divine-intimacy
24

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     EXHIBIT APPENDIX,                                                GORDON REES SCULLY
     CASE NO. 2:22-CV-01635-TL - 3                                    MANSUKHANI, LLP
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          Case 2:22-cv-01635-TL      Document 48-1    Filed 04/10/23      Page 4 of 5




 1
     Dated: April 10, 2023                    GORDON REES SCULLY MANSUKHANI,
 2                                            LLP
 3

 4                                            By: /s/ William M. Hughbanks
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                                              Attorneys for Plaintiff
12

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     EXHIBIT APPENDIX,                                          GORDON REES SCULLY
     CASE NO. 2:22-CV-01635-TL - 4                              MANSUKHANI, LLP
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           Case 2:22-cv-01635-TL          Document 48-1         Filed 04/10/23      Page 5 of 5




 1                                  CERTIFICATE OF SERVICE

 2
           I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
 3
     the Court using the CM/ECF system which will send notification of such filing to the
 4
     following:
 5
           Nicholas F. Lenning, WSBA #54740
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10         ashley.gammell@klgates.com
11         Attorneys for Defendant Faithlife LLC
12

13
                                                       By: /s/ William M. Hughbanks
14
                                                           William M. Hughbanks WSBA # 45562
15

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     EXHIBIT APPENDIX,                                                    GORDON REES SCULLY
     CASE NO. 2:22-CV-01635-TL - 5                                        MANSUKHANI, LLP
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